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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                          Eastern District of Michigan

United States of America                                            ORDER OF DETENTION PENDING TRIAL
       v.
Alfonso Jose Castaneda                                /             Case Number: 07-30288
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                        Part I – Findings of Fact
     T    (1) I find that:
                   “ there is probable cause to believe that the defendant has committed an offense
                   T for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                   “ under 18 U.S.C. § 924(c).

    T (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          T I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         “ I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                         Part II – Written Statement of Reasons for Detention
         T I find that the credible testimony and information submitted at the hearing established the following factors under 18
U.S.C. § 3142(g):
                  T (a) nature of the offense - Large scale marijuana distribution conspiracy.
                  T (b) weight of the evidence - Strong, including surveillance and drug seizure.
                  T (c) history and characteristics of the defendant - Mexican national - permanent resident alien.
                            “ 1) physical and mental condition -
                            T 2) employment, financial, family ties - Unemployed; no ties to this district. Family in California and
                                     Mexico. No assets. Multiple alias names.
                            T 3) criminal history and record of appearance - Misdemeanor convictions for battery, child cruelty and
                                     driving while suspended. Also wanted on warrant for arson in California.
                  “ (d) probation, parole or bond at time of the alleged offense -
                  “ (e) danger to another person or community -

          This defendant faces substantial imprisonment upon conviction. He is an alien and would undoubtedly be deported upon
          conviction. He has no assets in the United States. The risk on non-appearance is substantial. Pretrial Services recommends
          detention, and I fully agree.

                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                    s/Donald A. Scheer
Date: June 12, 2007                                                                  Signature of Judge
                                                                    Donald A. Scheer, United States Magistrate Judge
                                                                                 Name and Title of Judge
